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                               EXHIBIT P
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   Nowhere to Swim:
      The Disparate Impact of Town of Islip
        Pool Closures on Working-Class
             Communities of Color
   An analysis of what communities will be most affected
                      by pool closings



  A report by New York Communities for Change
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  Introduction

        This report uses demographic information to show that the proposed
  closure of either of the two public pools serving Central Islip, Brentwood, and
  North Bay Shore (Roberto Clemente and Casamento Parks), among others would
  disproportionately impact lower income neighborhoods with high concentrations
  of people of color. By allowing these factors to determine their decision, the Islip
  Town Council is setting a precedent of racist and classist policy-making that will
  further disenfranchise the already struggling communities they represent.


  Background Information
        On Tuesday, Jan. 29th, the town of Islip’s board of trustees voted to close two of five public pools
         as a result of budget cuts.1

        The two pools slated for closure are located at Roberto Clemente Park in Brentwood, and
         Casamento Park in West Islip, but also serve residents in Central Islip, Brentwood, North Bay
         Shore and other communities.

        “Speakers ranging from longtime northern Islip residents and community activists to a
         representative from New York state Assemblyman Phil Ramos' office spoke against the closure
         at Tuesday's town board meeting and complained that the public wasn't informed. Bay
         Shore resident Mary Reid said residents would only have known had they read the finalized
         budget closely.”2

        “Supervisor Tom Croci said the pools are temporarily closed in part because the town is short on
         cash to implement much-needed repairs." We had assigned some capital money for that, but
         unfortunately due to the hurricane [Sandy], when we went through the budget we had to put
         those monies into repairs," he said, adding that federal officials have not yet reimbursed the
         town for storm expenditures.”3

        After widespread criticism from residents following the initial decision on Jan. 29th, the Islip
         Board of Trustees announced on March 5th the possibility of reopening one of the pools this
         summer.

        “There’s no guarantee either pool will reopen this summer, Councilman Anthony Senft said, but
         he added that he is optimistic. Senft said town officials are particularly focused on reopening
         Roberto Clemente Park pool because it serves a more isolated area that’s farther away from the
         town’s other six pools.”4
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  Pool Closure Impact on Residential Access


        Councilman Anthony Senft said residents would be encouraged to use the towns three other
         pools, in Hauppauge, Bay Shore and Oakdale. But Brentwood Association of Concerned Citizens
         co-founder Lenny Tucker said that's not viable for many families.5

        The pool at Roberto Clemente Park is equidistant from the respective centers of Brentwood,
         North Bay Shore, and Central Islip, which is a short commute via public transportation for many
         residents. Of the four other swimming facilities in the area, it is the most centrally located.

        The two pools at Casamento Park are similarly situated to serve the communities of West Islip,
         North Bay Shore, Brentwood, and others.

        Senft’s suggestion that residents use the town’s other pools (“Hauppauge, Bay
         Shore and Oakdale”) is impractical.

                 1. Hauppauge is eight miles from Roberto Clemente Park, and twelve miles from
                    Casamento, and is not served by public transportation. Residents without a private
                    vehicle would be unable to easily access these facilities.

                 2. Byron Lake Park (‘Oakdale’) presents a similar problem, in that it is eight miles from
                    Roberto Clemente Park, and ten miles from Casamento. Reaching it from the area of
                    Roberto Clemente Park via public transport requires numerous transfers, making
                    the trip prohibitive for those without a private vehicle.

                 3. Currently, there is no public pool in Bay Shore. Councilmen Senft was likely referring
                    to Shipwreck Cove Spray Park, located at the Bay Shore Marina. The attraction is not
                    free, and requires either a membership, or payment of entrance fee to use. And, as
                    with Byron Lake Park, the commute via public transport is arduous, especially for
                    residents of areas in which pools are closing.

            Offloading demand for swimming facilities onto these three pools will create an issue of
             congestion, and access. In closing the other two pools, the Town Council is not only
             compelling residents to travel farther in order to swim. They are also providing minority
             populations in Brentwood, Central Islip, and North Bay Shore with fewer swimming areas,
             meaning those remaining open will be overcrowded, furthering restricting access for some
             who might otherwise use them.
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  Neighborhoods Affected by Pool Closures

  (Areas containing or served by a public pool slated for closure)
            The neighborhoods served by the two pools selected for closure are predominantly
             occupied by black and Hispanic/Latino populations: 77.1% in Central Islip, 84.9% in
             Brentwood, and 83.3% of North Bay Shore.
            Median household income in these three neighborhoods is significantly lower on average
             than the areas in the following section.
            Councilman Senft’s claim that these neighborhoods are somehow ‘isolated’ is not supported
             by the population data. Central Islip and Brentwood each have more residents than any of
             the areas in which swimming facilities remain open.



  Neighborhoods Unaffected by Pool Closures

  (Areas containing, or served by a public pool not slated for closure)
        The three swimming facilities (“Hauppauge, Bay Shore and Oakdale”) suggested by Councilman
         Senft are all located in towns with a majority white population and, with the exception of Bay
         Shore, a significantly higher household income.
        Other neighborhoods served by these facilities (“Hauppauge, Bay Shore and Oakdale”) like
         Bohemia or Islip (West and East, as well), show a similar demographic disparity when compared
         with areas in which pools are closing.
        Overall, this disparity shows that the poorest and least white of the neighborhoods in Islip stand
         to be deprived of their swimming facilities, while those with a majority white population and a
         higher household income will not.




  Conclusion

         In order to ensure that currently disenfranchised Islip populations are not
  further marginalized, the Islip Town Council must be held accountable for
  concealing a measure clearly based on cutting services to minority areas while
  hiding beneath the guise of “fiscal necessity.” Councilmen Senft’s characterization
  of the neighborhoods served by Roberto Clemente as ‘isolated areas’ further
  makes the point that the Councilman sees these communities as separate from
  the rest of the town . If this sort of policy is allowed to progress without censure,
  further measures based on similar prejudice will become the standard when
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  addressing budgetary concerns, and these communities will continue to suffer. In
  practical terms, the board’s decision will limit access to, and congest, public
  swimming facilities, and greatly impact the overall quality of life for all residents
  of Islip.

  New York Communities for Change: is a coalition of working families in low and
  moderate income communities fighting for social and economic justice throughout
  New York State. By using direct action, legislative advocacy, and community
  organizing, NY Communities' members work to impact the political and economic
  policies that directly affect us. Through neighborhood chapters and issue-based
  committees, we are working to ensure that every family throughout New York has
  access to quality schools, affordable housing, and good jobs.
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  Appendix
  Demographic Data For Areas Affected by the Pool Closure

  Central Islip6

  Total population: 34,450

  Median household income, 2007-2011: $70,310

    White persons, percent, 2010 (a)                                 43.6%
    Black persons, percent, 2010 (a)                                 25.0%
    American Indian and Alaska Native persons, percent, 2010
    (a)                                                              0.9%
    Asian persons, percent, 2010 (a)                                 3.4%
    Native Hawaiian and Other Pacific Islander, percent, 2010 (a)    Z
    Persons reporting two or more races, percent, 2010               5.9%
    Persons of Hispanic or Latino origin, percent, 2010 (b)          52.1%


  Brentwood7

  Total population: 60,664

  Median household income, 2007-2011: $70,816

   White persons, percent, 2010 (a)                                 48.4%
   Black persons, percent, 2010 (a)                                 16.4%
   American Indian and Alaska Native persons, percent, 2010 (a)     1.2%
   Asian persons, percent, 2010 (a)                                 2.0%
   Native Hawaiian and Other Pacific Islander, percent, 2010 (a)    Z
   Persons reporting two or more races, percent, 2010               5.7%
   Persons of Hispanic or Latino origin, percent, 2010 (b)          68.5%


  North Bay Shore8

  Total population: 18,944

  Median household income, 2007-2011: $68,596

    White persons, percent, 2010 (a)                                43.6%
    Black persons, percent, 2010 (a)                                18.3%
    American Indian and Alaska Native persons, percent, 2010
    (a)                                                             0.7%
    Asian persons, percent, 2010 (a)                                3.8%
    Native Hawaiian and Other Pacific Islander, percent, 2010
    (a)                                                             Z
    Persons reporting two or more races, percent, 2010              6.1%
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    Persons of Hispanic or Latino origin, percent, 2010 (b)         65.0%




  Demographic Date for Communities unaffected by Pool Closure

  Hauppauge9

  Total population: 20,882

  Median household income, 2007-2011: $104,285

    White persons, percent, 2010 (a)                            89.2%
    Black persons, percent, 2010 (a)                            2.2%
    American Indian and Alaska Native persons, percent,
    2010 (a)                                                    0.1%
    Asian persons, percent, 2010 (a)                            5.9%
    Native Hawaiian and Other Pacific Islander, percent,
    2010 (a)                                                    Z
    Persons reporting two or more races, percent, 2010          1.3%
    Persons of Hispanic or Latino origin, percent, 2010 (b)     7.1%


  Oakdale10

  Total population: 7,974

  Median household income, 2007-2011: $91,667

    White persons, percent, 2010 (a)                                       96.5%
    Black persons, percent, 2010 (a)                                       1.2%
    American Indian and Alaska Native persons, percent, 2010 (a)           Z
    Asian persons, percent, 2010 (a)                                       1.3%
    Native Hawaiian and Other Pacific Islander, percent, 2010 (a)          Z
    Persons reporting two or more races, percent, 2010                     0.7%
    Persons of Hispanic or Latino origin, percent, 2010 (b)                3.9%


  Bay Shore11

  Total population: 26,337

  Median household income, 2007-2011: $67,832

    White persons, percent, 2010 (a)                                61.0%
    Black persons, percent, 2010 (a)                                19.6%
    American Indian and Alaska Native persons, percent, 2010
    (a)                                                             0.7%
    Asian persons, percent, 2010 (a)                                3.2%
    Native Hawaiian and Other Pacific Islander, percent, 2010       Z
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    (a)
    Persons reporting two or more races, percent, 2010              4.2%
    Persons of Hispanic or Latino origin, percent, 2010 (b)         30.8%


  Islip12

  Population total: 18,689

  Median household income, 2007-2011: $90,772

    White persons, percent, 2010 (a)                                86.4%
    Black persons, percent, 2010 (a)                                4.7%
    American Indian and Alaska Native persons, percent, 2010
    (a)                                                             0.2%
    Asian persons, percent, 2010 (a)                                2.5%
    Native Hawaiian and Other Pacific Islander, percent, 2010
    (a)                                                             0.1%
    Persons reporting two or more races, percent, 2010              2.3%
    Persons of Hispanic or Latino origin, percent, 2010 (b)         13.8%


  East Islip13

  Population total: 14,475

  Median household income, 2007-2011: $97,901

    White persons, percent, 2010 (a)                                        94.5%
    Black persons, percent, 2010 (a)                                        1.0%
    American Indian and Alaska Native persons, percent, 2010 (a)            0.1%
    Asian persons, percent, 2010 (a)                                        1.6%
    Native Hawaiian and Other Pacific Islander, percent, 2010 (a)           0.0%
    Persons reporting two or more races, percent, 2010                      1.4%
    Persons of Hispanic or Latino origin, percent, 2010 (b)                 6.2%


  West Islip14

  Population total: 28,335

  Median household income, 2007-2011: $99,343

    White persons, percent, 2010 (a)                                95.9%
    Black persons, percent, 2010 (a)                                0.6%
    American Indian and Alaska Native persons, percent, 2010
    (a)                                                             Z
    Asian persons, percent, 2010 (a)                                1.7%
    Native Hawaiian and Other Pacific Islander, percent, 2010
    (a)                                                             Z
    Persons reporting two or more races, percent, 2010              1.1%
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     Persons of Hispanic or Latino origin, percent, 2010 (b)         5.5%


   Bohemia15

   Total population: 10,180

   Median household income, 2007-2011: $97,606

     White persons, percent, 2010 (a)                                       93.9%
     Black persons, percent, 2010 (a)                                       1.0%
     American Indian and Alaska Native persons, percent, 2010 (a)           0.1%
     Asian persons, percent, 2010 (a)                                       2.3%
     Native Hawaiian and Other Pacific Islander, percent, 2010 (a)          Z
     Persons reporting two or more races, percent, 2010                     1.4%
     Persons of Hispanic or Latino origin, percent, 2010 (b)                7.1%




   Notes:
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   1
       Ruud. “Islip Residents Wade in on Pool Closures.” Newsday. Jan. 29th, 2013. Online edition.)

   2
       Ibid.

   3
       Ibid.
   4
       Ruud. “Officials aim to open one Islip Town pool by summer.” Newsday. March 5th. Online edition.


   5
       Ruud, “Islip Residents . . .”

   6
       http://quickfacts.census.gov/qfd/states/36/3613552.html


   7
       http://quickfacts.census.gov/qfd/states/36/3608026.html


   8
       http://quickfacts.census.gov/qfd/states/36/3651495.html


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     http://quickfacts.census.gov/qfd/states/36/3632732.html
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      http://quickfacts.census.gov/qfd/states/36/3654144.html
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      http://quickfacts.census.gov/qfd/states/36/3607157.html
